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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




UNITED STATES OF AMERICA,                     )     Case No.: 1:06 CR 125-25
                                              )
       Plaintiff                              )     JUDGE SOLOMON OLIVER, JR.
                                              )
       v.                                     )
                                              )     ORDER ACCEPTING PLEA
ISIDRO ARANDA,                                )     AGREEMENT, JUDGMENT
                                              )
       Defendant                              )



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Nancy A. Vecchiarelli, regarding the change of plea hearing of Isidro Aranda,

which was referred to the Magistrate Judge with the consent of the parties.

       On May 9, 2006, the government filed a tw-count superseding indictment against

Defendant Isidro Aranda, for Conspiracy to Smuggle Aliens into and within the United States, as

defined in Title 8, United States Code, Section 1324(a)(1)(A)(v)(I), and Conspiracy to Commit

Mail Fraud, Wire Fraud, Document Fraud and Structuring Financial Transactions as defined in

Title 18, United States Code, Section 371 .

        On May 17, 2006, a hearing was held in which Defendant Aranda, entered a plea of not

guilty before Magistrate Judge Perelman. On December 12, 2006, Magistrate Judge Nancy
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Vecchiarelli received Defendant Arando’s plea of guilty to counts 1s and 3s, and issued a

Report and Recommendation (“R&R”) concerning whether the plea should be accepted and a

finding of guilty entered. Magistrate Judge Vecchiarelli filed her R&R on December 12, 2006.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Reyes is found to be competent to enter a plea and to understand his constitutional rights. He is

aware of the charges and of the consequences of entering a plea. There is an adequate factual

basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

       Therefore, Defendant Arando is adjudged guilty of Counts One and Three in violation of

Title 8 Section 1324(a)(1)(v)(I) and Title 18 Section 371.

       IT IS SO ORDERED.



                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE
